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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

       v.
                                                              Case No. 07-20400
EDWARD GALLAGHER,                                             Honorable Julian Abele Cook, Jr.

                       Defendant.


                                               ORDER

       On July 12, 2011, the Petitioner, Edward Gallagher, pled guilty to using a communication

facility to facilitate the commission of a controlled substance offense, in violation of 21 U.S.C. §

843(d). On November 29, 2011, he was sentenced to a term of imprisonment of 40 months.

Currently before the court are his (1) request for post-conviction relief pursuant to 28 U.S.C. § 2255

on the ground that his attorney rendered ineffective assistance during his sentencing hearing, and

(2) motion to correct the record and for other relief.

                                                  I.

       This case presents a somewhat unusual procedural history. Gallagher initially entered a

guilty plea on June 17, 2009 to the charge of distribution of methamphetamine, in violation of 21

U.S.C. § 841 (a)(1). The Rule 11 Plea Agreement calculated a guideline range of 108 to 135 months,

with a statutory minimum sentence of 120 months based on the quantity of methamphetamine (600

grams). This 120-month minimum sentence was considered by both parties to overstate Gallagher’s

culpability, but the parties reached an understanding that Gallagher would qualify for a “safety

valve” exception which would permit the Court to impose a sentence lower than the statutory
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minimum. However, during his review of the case, the Probation Officer determined that (1)

Gallagher possessed a firearm during one of the relevant drug transactions and (2) as a result, the

imposition of a firearm sentencing enhancement was appropriate.1 This enhancement prevented

Gallagher from taking advantage of any “safety valve” exception. At a hearing on March 29, 2011,

Gallagher was allowed to withdraw his guilty plea in order to re-negotiate a more appropriate

agreement with the Government.

       On July 12, 2011, Gallagher tendered a new plea of guilty to a one-count superseding

information that dropped the count of methamphetamine distribution and instead charged him with

using a communication facility to facilitate the commission of a controlled substance offense, in

violation of 21 U.S.C. § 843(d). This plea agreement included the sentencing enhancement for the

possession of a firearm. On November 29, 2011, Gallagher was sentenced to a term of incarceration

of forty months. In June and July 2012, he filed motions that sought to amend and correct the

presentence investigation report. Gallagher contended that the report erroneously indicated that (1)

his last use of illegal drugs occurred in 2004, when - according to him - the correct date is 2006; and

(2) he had an involvement with a firearm during a drug transaction. These alleged errors prevented

him from participating in a residential drug abuse program, which could entitle him to a reduced

sentence upon completion.

       On August 31, 2012, his motions were denied by the Court. The Court noted that Gallagher

affirmed under oath that he had read the pre-sentence report, that he had no corrections to make, and

that the report was accurate. On September 24, 2012 ,Gallagher filed a petition for post-conviction


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         The presentence investigation report notes that on September 20, 2004, while discussing
a drug transaction, Gallagher showed a confidential informant a firearm and asked about getting
another firearm that was not registered. (Revised Presentence Report ¶ 17, at 8).

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relief. On June 19, 2013, he filed a motion to correct the record and for other relief.

                                                  II.

       The Court will first address Gallagher’s § 2255 motion. Every federal prisoner who

challenges his sentence under 28 U.S.C. § 2255 must establish “that the sentence was imposed in

violation of the Constitution or laws of the United States, or that the court was without jurisdiction

to impose such sentence, or that the sentence was in excess of the maximum authorized by law, or

is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). If such a violation is found to exist,

a petitioner may ask the court to vacate, set aside, or correct the sentence. Id. A petitioner’s burden

in seeking such relief depends upon the type of error alleged. If he claims a harm due to a

constitutional error, the aggrieved party must “establish an error of constitutional magnitude which

had a substantial and injurious effect or influence on the proceedings.” Watson v. United States, 165

F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993)). On the

other hand, if the alleged error is non-constitutional, the petitioner must demonstrate “a fundamental

defect which inherently results in a complete miscarriage of justice, or, an error so egregious that

it amounts to a violation of due process.” Id. (citation and internal quotation marks omitted). If a

sentencing error “did not affect the district court’s selection of the sentence imposed,” it is

considered to be “harmless” and re-sentencing should be denied. See United States v. McCarty, 628

F.3d 284, 294 (6th Cir. 2010).

                                                 III.

       In his § 2255 motion to , Gallagher contends that his attorney provided ineffective assistance

during sentencing by failing to (1) insure that the Government fulfilled its promise to suppress from

his pre-sentence investigation report any evidence relating to his possession of a firearm during a


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drug transaction; (2) object to an erroneous date provided in the pre-sentence report as the last year

in which Gallagher used drugs; and (3) ask for a sentence of probation after the Government asserted

that it would not object to such a request.

        In order to prevail on such a claim, Gallagher must establish that (1) counsel’s performance

fell below an objective standard of reasonableness, and (2) this deficient performance caused him

to suffer prejudice resulting in an unreliable or fundamentally unfair outcome in the proceeding.

Strickland v. Washington, 466 U.S. 668, 687-88 (1984). There exists “a strong presumption that

counsel’s conduct falls within the wide range of professional assistance.” Id. at 689.

       Gallagher first contends that his trial counsel failed to insure that the Government met its

contractual promise to suppress any reference to a firearm in his pre-sentence investigation report.

He does not contend that this failure affected the length of his sentence. Indeed, the sentence

recommended by the sentencing guidelines was many months greater than the statutory maximum

for the charged offense. As the length of the sentence was capped by a forty-eight month maximum,

the additional time added as a result of the firearm enhancement did not influence the term of

imprisonment issued by the Court. Rather, Gallagher contends that the inclusion of the firearms

reference prevents him from entering the residential drug treatment program, which offers the

opportunity for a reduction in his sentence upon completion.

       While Gallagher contends that the Government orally promised to suppress evidence of a

firearm, the parties’ agreement does not reflect such a promise. In fact, the Rule 11 Plea Agreement

signed by the parties contains a sentencing enhancement that reflects Gallagher’s possession of the

firearm. Gallagher signed this Agreement underneath language which affirms the following “By

signing below, Defendant acknowledges that he has read (or been read) this entire document,


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understands it, and agrees to its terms.” The Agreement also states the following:

       This agreement, which includes all documents that it explicitly incorporates, is the
       complete agreement between the parties. This agreement supersedes all other
       promises, representations, understandings and agreements between the parties
       concerning the subject matter of this plea agreement that were made at any time
       before the guilty plea is entered in court. Thus, no oral or written promises made by
       the government to defendant or to the attorney for the defendant at any time before
       defendant pleads guilty are binding except to the extent they have been explicitly
       incorporated into this agreement.


(Plea Agreement ¶ 8, at 8, ECF No. 378). Thus, Gallagher’s contention that the Government

breached its contract is unavailing. The Sixth Circuit has held that “[a]n integration clause normally

prevents a criminal defendant, who has entered into a plea agreement, from asserting that the

government made oral promises to him not contained in the plea agreement itself.” United States

v. Hunt, 205 F.3d 931, 936 (6th Cir. 2000); see also United States v. Hronek, 95 F. App’x 827, 829

(6th Cir. 2004) (unpublished); Owens v. United States, No. 06-cv-123, 2007 WL 1041121, at *7

(W.D. Mich. Apr. 4, 2007) (“The Sixth Circuit has repeatedly held that a defendant’s claim of a

secret agreement, not reflected in the plea agreement or at a carefully conducted guilty plea hearing,

is subject to summary dismissal and cannot form the basis for section 2255 relief.”).

       Gallagher faces an additional hurdle in establishing his claim because at his sentencing

hearing, he stated under oath that (1) he was given a chance to review the pre-sentence report, (2)

the content of the report was accurate, and (3) he did not have any corrections to make. When a

petitioner testifies that a pre-sentence report is accurate, courts have held that a lawyer’s failure to

object to its contents does not constitute ineffective assistance of counsel. United States v. Woodard,

No. 1:08-CR-191, 2012 WL 4867415 (W.D. Mich. Oct. 15, 2012); United States v. Glover, No. 04-

CR-80963-8, 2009 WL 1393390 (E.D. Mich. May 15, 2009). Even if Gallagher had failed to read


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the report prior to the hearing, he was provided verbal notice during the hearing that mention of the

firearm had not been removed. During imposition of the sentence, the Court expressly noted that,

as determined by the Probation Department, the base offense level was enhanced because Gallagher

possessed a dangerous weapon. Gallagher did not object to this finding.

        Gallagher next contends that the pre-sentence investigation report inaccurately states that the

last year in which he used drugs was 2004 when in reality it was 2006. Notably, Gallagher does not

state in any of his affidavits that he informed his attorney of this error. Rather, Gallagher asserts that

he “inadvertently failed to focus on the 2004 reference that should have read 2006.” (Gallagher

Supplemental. Aff., ¶ 4). He states that he “advised probation that the final year of [his] drug use

was 2006,” but he does not mention that he so advised his attorney. Id. In fact, there is no evidence

in the record which indicates that he ever informed his attorney of the alleged error. As noted above,

Gallagher stated on the record and under oath that the information contained in his pre-sentence

report is accurate. Counsel’s performance cannot be said to be deficient for failing to object to any

errors of which he was never informed and to which his client did not object.

        Finally, Gallagher contends that his attorney rendered ineffective assistance by failing to

request a sentence of probation after the Government allegedly stated that it would not object to such

a request. The Government vigorously denies that any such statement was made, but Gallagher has

produced several affidavits from alleged witnesses to the conversation who testify that the

Government did indeed make such a promise. Notwithstanding this evidence, Gallagher’s claim

must fail because he cannot demonstrate that his attorney’s failure caused him prejudice.

        First, although available, probation was not authorized by the guidelines. Gallagher has not

presented any plausible argument that his attorney should have made to support a request for a


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sentence of probation. Second, the Court would not have considered an argument for a sentence of

probation. The only co-defendants who were sentenced to a term of probation were those who were

charged with simple possession and had guideline ranges of zero to six months. By contrast, the

sentencing guidelines recommended a sentence in Gallagher’s case of 108 to 135 months. He was

simply not in the same category as co-defendants who were offered a sentence of probation.

       As a further example, the co-defendants who pled guilty to charges analogous to those faced

by Gallagher were both sentenced to terms of imprisonment. For example, Michael Radke pled

guilty to distributing 3 ounces of cocaine. The sentencing guidelines recommended a term of

imprisonment of 12 to 18 months, and he received a sentence of 12 months and one day. Kim

Galaviz pled guilty to distribution of approximately 124 grams of cocaine. The sentencing guidelines

recommended a term of imprisonment of 30 to 37 months, and she received a sentence of 24 months.

In Gallagher’s case, he was initially charged with the distribution of approximately 600 grams of

methamphetamine. Even without the sentence enhancement for firearms, the sentencing guidelines

recommended a sentence of 87 to 108 months. As Gallagher was responsible for a much higher

quantity of drugs, it is inconceivable that he would receive a sentence of probation.

       Finally, both defense counsel and the Government provided the Court with a great deal of

mitigating information, which was taken into account by the Court when deciding upon a sentence

of 40 months. For example, the Government acknowledged to the Court that Gallagher was not

involved in the violent conduct that many of his co-defendants were charged with and that the

guideline range overstated Gallagher’s role in the overall indictment conduct. In addition, the Court

noted that Gallagher’s age and his physical condition weighed in favor of a reduced sentence. Yet

even considering these mitigating circumstances, the Court imposed a term of imprisonment of forty


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months. Given the quantity of drugs for which he was responsible and the sentences issued to co-

defendants for the distribution of a lesser quantity of drugs, the Court would not have issued a

sentence of probation, and Gallagher has not proffered any argument that he believes his counsel

could have made to alter that conclusion. As Gallagher has not offered any evidence to support a

contention that his attorney’s failure to request a sentence of probation affected the outcome of his

sentencing hearing, he has not established that he suffered prejudice from this failure. Strickland,

466 U.S. at 691-92.

                                                  IV.

          Gallagher’s pending motion to correct the record and for other relief is almost identical to

two prior motions to amend and correct the pre-sentence investigation report that were filed on June

27, 2012 and July 17, 2012. In an Order dated August 31, 2012, the Court determined that those

claims lacked merit. As this motion raises no new facts or legal arguments, the Court will decline

to revisit these issues. As a result, Gallagher’s motion to correct the record and for other relief is

denied.

                                                  V.

          For the reasons that have been set forth above, the Court denies Gallagher’s motion for to

vacate his sentence (ECF No. 400) and motion to correct the record and for other relief (ECF No.

407).

          IT IS SO ORDERED.




Date: November 15, 2013                                 s/Julian Abele Cook, Jr.

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                                                                    JULIAN ABELE COOK, JR.
                                                                    U.S. District Judge



                                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's ECF System to their
respective email addresses or First Class U.S. mail to the non-ECF participants on November 15, 2013.


                                                                              s/ Kay Doaks
                                                                              Case Manager




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